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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


                                      x
 In re AMERICAN AIRLINES/JETBLUE      :   Lead Case No. 1:22-cv-07374-AMD-TAM
 ANTITRUST LITIGATION                 :
                                      :   (Consolidated with Case No. 1:22-cv-07423-
                                      :   AMD-TAM)
 This Document Relates To:            :
                                      :   CLASS ACTION
          ALL ACTIONS.                :
                                      x   MOTION TO WITHDRAW STEVEN M.
                                          JODLOWSKI AS ATTORNEY OF RECORD




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          PLEASE TAKE NOTICE that the undersigned moves this Court pursuant to Local Civil

 Rule 1.4, to allow Steven M. Jodlowski to withdraw as counsel of record for Plaintiffs Katrina

 Berger and Toni Guerin in the above-referenced action due to his departure from the law firm of

 Robbins Geller Rudman & Dowd LLP. I respectfully request that Steven M. Jodlowski be removed

 from the docket as counsel for Plaintiffs Katrina Berger and Toni Guerin. All other counsel listed on

 the docket from the law firm of Robbins Geller Rudman & Dowd LLP will continue to represent

 Plaintiffs Katrina Berger and Toni Guerin in this matter.

          A proposed order is filed concurrently herewith.

 DATED: May 16, 2023                           ROBBINS GELLER RUDMAN
                                                & DOWD LLP
                                               DAVID W. MITCHELL (admitted pro hac vice)


                                                               s/ David W. Mitchell
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                                    CERTIFICATE OF SERVICE

          I hereby certify under penalty of perjury that on May 16, 2023, I authorized the electronic

 filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

 notification of such filing to the email addresses on the attached Electronic Mail Notice List, and I

 hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

 non-CM/ECF participants indicated on the attached Manual Notice List.

                                                    s/ David W. Mitchell
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